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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Case No. 2:17-cr-151

v. Chief Judge Edmund A. Sargus, Jr.

SALIM DAHDAH, M.D., et al.,
Defendants.
M
On September 18, 2018, a telephone status conference was held. The Court GRANTS
Salim and Cindy Dahdah’s (“Defendants”) Joint Motion to Continue the Trial Date. (ECF No.
63.)Tl1e Court continues Defendants’ trial to February 19, 2019. The Court GRANTS Cindy
Dahdah’s Motion to Modify Conditions of Release (ECF No. 55) with the following conditions:
l. Cindy Dahdah will remain under house arrest With electronic monitoring
2. Cindy Dahdah may leave her residence only for the purposes of shopping, hygiene, and
religious activities;

3. Cindy Dahdah is not to leave her residence Without prior permission from United States

 

Probation Offlce.
IT IS SO ORDERED.
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DATE EDMUNI(A!. SARGUS, JR.

CHIEF UNITED STATES DISTRICT JUDGE

